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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


  IMMUNEX CORPORATION; AMGEN
  MANUFACTURING, LIMITED; and                                 Civil Action No. 19-11755 (CCC/MF)
  HOFFMANN-LA ROCHE INC.;

                                                               IPL] ORDER TO SEAL
  Plaintiffs,




  V.

                                                                        Electronically Filed
  SAMSUNG BIOEP1S CO., LTD.,

  Defendant.

          THIS MATTER having been opened to the Court by the joint application of Plaintiffs

  Immunex Corporation and Amgen Manufacturing, Limited (collectively, “Plaintiffs”) and

  Defendant Samsung Bioepis Co., Ltd. (“Defendant”), by and through their undersigned counsel,

  in connection with the parties’ Joint Motion to Seal, pursuant to Local Civil Rule 5.3(c),

  portions of the following:

                •   The Letter from Liza M. Walsh to the Honorable Claire C. Cecchi, U.S.D.J. dated

                    April 30, 2019 (D.E. No. 7);

                •   The Letter from William C. Baton to the Hon. Claire C. Ceechi, U.S.D.J., dated

                    May 13, 2019 (D.E. No. 19);

                •   The Letter from Liza M. Walsh to the Hon. Claire C. Cecchi, V.S.D.J., dated May

                    14, 2019 (D.E. No. 20);

                •   The Letter from William C. Baton to the Hon. Mark Falk, U.S.M.J., dated August

                    2,2019 (D.E. No. 67); and

                •   The Letter from William C. Baton to the Hon. Mark Falk, U.S.M.J.. dated August

                    2,2019 (D.E. No. 68) (collectively referred to herein as “Confidential Letters”).
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         The Court having considered the papers submitted by the parties in support of the Joint

  Motion; and any papers in reply thereto; and the Court having considered and adopted the

  Declarations of Liza M. Walsh and Sarah A. Sullivan, counsel for Plaintiffs and Defendant,

  respectively, and the Court having further found that the standards of Local Civil Rule 5.3(c)

  have been met and support the sealing of the limited confidential documents and information;

  and for other and good cause having been shown, the Court hereby finds:

                                        FENDINGS OF FACT

      I. This is an action brought pursuant to the Biologics Price Competition and Innovation Act

         of 2009 (“BCPIA”), Pub. L. No. 111-148 (amending 42 U.S.C.         § 262).
     2. Local Civil Rule 5.3(c) provides that a patty wishing to use material designated as

         confidential must move pursuant to the Local Civil Rule for leave to file the submission

         under seal.

      3. Pursuant to Local Civil Rule 5.3(c), the parties move to seal portions of the Confidential

         Letters relating to the parties’ proprietary commercial and business interests.

      4. Specifically, the following portions of the above documents contain confidential

         information:

             •   Letter from Liza M. Walsh to the Honorable Claire C. Cecchi, U.S.D.J. dated

                 April 30, 2019 (D.E. No. 7):

                       o   Page 2, second paragraph, line 3, after “harm” through the end of the

                           paragraph; and

                       o   Page 2, third paragraph, lines 2 through 4 until “we want.”




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          •       The Letter from William C. Baton to the Hon. Claire C. Cecchi, U.S.D.J., dated

                  May 13, 2019 (D.E. No. [9):

                     o    Page I, second paragraph in its entirety, including lines 1-2 on page 2; and

                     o    Page 2, first full paragraph in its entirety.

          •       The Letter from Liza M. Walsh to the Hon. Claire C. Cecehi, U.S.D.J., dated May

                  14, 2019 (D.E. No. 20):

                     o    Page I. first paragraph, line 4, after “step” through the end of the

                          paragraph;

                      o   Page I, second paragraph in its entirety;

                      o   Page I, third paragraph, after “so” through the end of the paragraph;

                      o   Page I, last paragraph in its entirety; and

                      o   Page 2, paragraphs 1-3 in their entirety.

           •      The Letter from William C. Baton to the Hon. Mark Falk, U.S.M.J., dated August

                  2,2019 (D.E.No. 67):

                      o   Page I, second paragraph, line I, after “Court    --“   through the end of the

                          paragraph; and

                      o   Page 1. third paragraph in its entirety.

              •   The Letter from William C. Baton to the Hon. Mark Faik, U.S.M.J., dated August

                  2,2019 (D.E. No. 68):

                      o    Page I. second paragraph, line I, after “Court   --“   through the end of the

                          paragraph; and

                      o    Page 1, third parauraph in its entirety.



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 These select portions of the above documents are collectively referred to herein as the

 “Confidential Information.”

    5. The Confidential Information contains and/or reflects information that Plaintiffs and

        Defendant have designated as “Confidential” pursuant to Local Civil Rule 5.3.

    6. In particular, the Confidential Information discloses Plaintiffs and Defendant’s sensitive,

        competitive, commercial, and business information, which information is presently

        confidential and unavailable to the public.

     7. The legitimate private or public interests which warrant confidentiality are: Plaintiffs and

        Defendant, parties to this patent case have a legitimate interest in maintaining the

        confidentiality of their non-public information regarding sensitive commercial and

        business interests. The clearly defined and serious injury that would result if the

        Confidential Information is disclosed is: Plaintiffs and Defendant would be seriously

         injured.   Information which was not intended to be seen by competitors would be

         available for review and potential use against Plaintiffs and Defendant.         Moreover,

         competitors (actual and potential) in the highly competitive pharmaceutical industry, who

         are not parties to this action would have access to the information.

     8. The parties have compiied with the terms of Local Civil Rule 5.3(c) by moving to seal

         the Confidential Information.

                                    CONCLUSIONS OF LAW

     1. The Court. having considered this matter pursuant to Fed. R. Civ. P. 78 and L. Civ.

         R. 5.3, and the parties’ submissions in support of the Motion, finds that Plaintiffs and

         Defendant have satisfied their burden of proving under L. Civ. R. 5.3(c) and applicable




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       case law, that the identified portions of the Confidential Letters is highly confidential or

       confidential and entitled to protection. There exists in civil cases a common law public

       right of access to judicial proceedings and records. Goldstein v. Forbes (In re Cendant

       Corp.), 260 F.3d 183, 192 (3d Cir. 2001) (citing Littlejohn v. BIC Corp., 851 F.2d 673,

       677-78 (3d Cir. 1988)). The party seeking to seal any part of a judicial record bears the

       burden of demonstrating that “the material is the kind of information that courts will

       protect.” Miller v. Indiana Hosp., 16 F.3d 549, 551 (3d Cir. 1994) (quoting Publicker

       Indus.. Inc. v. Cohen, 733 F.2d 1059, 1071 (3d Cir. 1984)). This Court has the power to

       seal where confidential information may be disclosed to the public.          Fed. ft. Civ. P.

       26(c)(l)(G) allows the court to protect materials containing “trade secret[sj or other

       confidential research, development, or commercial information[j” upon motion by a

        party, to prevent harm to a litigant’s competitive standing in the marketplace.       Zenith

        Radio Corp. v. Matsushita Elec. Indus. Co., 529 F. Supp. 866, 889-91 (E.D. Pa. 1981).

        Additionally, courts in this District have held that the inclusion of trade secrets and other

        confidential information in documents warrants the sealing of such documents. “A well-

        settled exception to the right of access is the ‘protection of a party’s interest in

        confidential commercial information, such as a trade secret, where there is a sufficient

        threat of irreparable harm.” In re Gabapentin Patent Litii., 312 F. Supp. 2d 653, 664

        (D.N.J. 2004) (citation omitted).     As such. “[tihe presence of trade secrets or other

        confidential information weighs against public access and, accordingly, documents

        containing such information may be protected from disclosure.”     N.. (citations omitted).




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    2. Local Civil Rule 5.3(c) places the burden of proof on the moving party as to why a

        motion to seal or otherwise restrict public access should be granted.           Specifically, it

        requires a showing of: (I) the nature of the materials or proceedings at issue; (2) the

        legitimate private or public interest which warrants the relief sought; (3) the clearly

        defined and serious injury that would result if the rejief sought is not granted; and

        (4) why a less restrictive alternative to the relief sought is not available.

    3. The information in the parties’ submission satisfies the standards set forth in Local Civil

        Rule 5.3(c) and there is no less restrictive alternative to sealing the Confidential

        In formation.

        THEREFORE, it is on this           ii   day of                     ,




        ORDERED as follows:

     I. The portions identified above and referred to collectively as the Confidential Information

        are entitled to protection:

     2. The Court further finds that Plaintiffs and Defendant would suffer substantial and specific

        harm, including, but not limited to, potential financial damage through the divulgence of

        such highly confidential or confidential information, that the public interest weighs in

        favor of the information remaining confidential and being sealed, and that no less

         restrictive alternative exists.

     3. Therefore, the parties’ joint Motion pursuant to Local Civil Rule 5.3(c) to Seal the above

         referenced portions of the Confidential Letters is GRANTED.

     4. If necessary, the parties shall file updated redacted versions of the Confidential Letters (D.E.

         Nos. 90-94) on the docket, consistent with this Order.




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                             HON ORABL MARK FALt
                             UNITED STATES MAGISTRATE JUDGE




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